      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-348097
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       08/23/19    1 of17of 7
                                                                Page



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                     )      MDL No. 16-2740
PRODUCTS LIABILITY                              )
LITIGATION                                      )      SECTION: “H” (5)
                                                )
This document relates to:                       )
Barbara Earnest, 16-17144                       )


                             ORDER AND REASONS
      Before the Court is a Motion to Exclude Expert Testimony of Dr. Laura
Plunkett (Doc. 6155) filed by Defendants Sanofi-Aventis U.S. LLC and Sanofi
U.S. Services, Inc. (collectively, “Sanofi” or “Defendants”). For the following
reasons, the Motion is DENIED IN PART and DEFERRED IN PART.


                                  BACKGROUND
      Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical      companies      that    manufactured       and/or    distributed     a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial of Plaintiff
Barbara Earnest (“Plaintiff”) is set to begin September 16, 2019. 2




1Docetaxel is the generic version of Taxotere.
2 To the extent Defendants’ Motion relates to Plaintiff Tanya Francis, the Motion is moot,
given the Court’s dismissal of her case. To the extent the Motion relates to Plaintiff
Antoinette Durden, the Motion is denied and deferred for the same reasons provided herein.
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-348097
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       08/23/19    2 of27of 7
                                                                Page



                                   LEGAL STANDARD
       The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testify in the form of an
       opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the
               evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and
               (d) the expert has reliably applied the principles and
               methods to the facts of the case. 3

       The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 4 and Kumho Tire Co. v. Carmichael. 5
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 6 After defining the permissible scope of the expert’s testimony,
a court next assesses whether the opinions are reliable and relevant. 7 As the
“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 8



3 FED. R. EVID. 702.
4 509 U.S. 579 (1993).
5 526 U.S. 137 (1999).
6 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also Wilson v.

Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
witness to testify if it finds that the witness is not qualified to testify in a particular field or
on a given subject.”).
7 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).
8 Wellogix, 716 F.3d at 881.



                                                 2
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-348097
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        08/23/19    3 of37of 7
                                                                 Page



       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 9 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 10 Courts should exclude testimony based merely on subjective
belief or unsupported speculation.           11   Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 12 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.” 13 After
assessing reliability, a court evaluates relevance. 14 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 15


                                LAW AND ANALYSIS
       Dr. Laura Plunkett, one of Plaintiff’s experts, is a pharmacologist and
toxicologist. In the instant Motion, Defendants seek to limit her testimony.
Defendants argue that Dr. Plunkett should not be permitted to offer two
opinions: (1) that Taxotere is associated with a “greater risk” of permanent
alopecia compared to “some other” chemotherapy drugs, including Taxol; and
(2) that Taxotere is “more toxic” than Taxol. Defendants further argue that Dr.
Plunkett should be prohibited from providing opinions on four topics she did
not address in her expert report. These topics are causation, regulatory
opinions, Taxotere’s efficacy, and promotional activities related to Sanofi and


9 See Daubert, 509 U.S. at 592–93.
10 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
11 See Daubert, 509 U.S. at 590.
12 See id. at 596.
13 Id.
14 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
15 Id.

                                                3
         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-348097
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          08/23/19    4 of47of 7
                                                                   Page



Taxotere. In response, Plaintiff concedes that Dr. Plunkett will not be offering
opinions pertaining to these four topics. Accordingly, Defendants’ argument on
this is moot, and the Court will not address it.
         Defendants first attack Dr. Plunkett’s opinion that Taxotere is
associated with a greater risk of permanent alopecia. Defendants argue that
this opinion is unreliable. They explain that Dr. Plunkett reviewed more
information on Taxotere than on any other drugs she considered in making
this comparison. Specifically, for Taxotere, Dr. Plunkett reviewed clinical trial
reports, internal safety data, and company documents from Sanofi. She did not,
however, have access to this kind of information regarding other drugs. For
Taxol, for example, she reviewed six letters pertaining to Taxol that she located
on the FDA website. She also reviewed two clinical studies on Taxol, neither of
which recorded data about alopecia. Defendants take issue with Dr. Plunkett’s
failure to rely on targeted studies and aver that her reliance on general medical
literature does not suffice. Lastly, Defendants suggest that Dr. Plunkett is
unqualified, writing that “[o]ne whose background, training, and experience is
lacking on a specific subject cannot make oneself an expert on the subject by
‘reading up’ on it.” 16
         The Court finds that Dr. Plunkett’s “greater risk” opinion is based on
sufficient information. Dr. Plunkett states in her report that in forming her
opinions in this case, she considered the types of sources she commonly
references in her work as a pharmacologist, toxicologist, and risk assessor. 17
She reviewed, among other materials, “scientific literature relating to the
pharmacology and toxicology of taxane drug products, including Taxotere
(docetaxel) and Taxol (paclitaxel). 18 For example, she considered findings from


16   Doc. 6155 at 12.
17   Doc. 6155-8 (Plunkett Report) at 4.
18   Id.
                                           4
         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-348097
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          08/23/19    5 of57of 7
                                                                   Page



Dr. S.M. Sedlack, who reported that alopecia associated with docetaxel therapy
as      an    adjuvant,   or   enhancement,    to   doxorubicin/cyclophosphamide
chemotherapy was irreversible in some patients. 19 He reported that 6.3
percent of women administered doxorubicin plus Taxotere developed
irreversible alopecia, compared to 0 percent of women administered
doxorubicin plus Taxol. 20 Dr. Plunkett also considered the results of Sanofi’s
clinical studies, TAX 316 and GEICAM 9805. The studies showed a higher rate
of persistent alopecia among patients administered a Taxotere regimen as
opposed to a non-Taxotere regimen. 21 Dr. Plunkett also considered the
frequency of reports in medical literature linking Taxotere to permanent
alopecia as compared with the lower frequency of reports linking Taxol to
permanent alopecia. 22
         The Court further rejects Defendants’ assertion that Dr. Plunkett is an
unqualified expert who simply “read up” on the subject matter at issue.
Defendants emphasize that Dr. Plunkett has never given an expert opinion on
alopecia or breast cancer, but they ignore the fact that Dr. Plunkett has years
of relevant experience as a pharmacologist and toxicologist. Defendants also
fail to convince the Court that Dr. Plunkett merely “read up” on the subject
matter at issue in this case. With her knowledge and experience, Dr. Plunkett
employed reliable methodologies to draw her conclusions regarding this case.
As she explains in her report, she performed a “human health risk
assessment,” which she writes “is a standard tool used by pharmacologists and
toxicologists when they are trying to understand the benefits and risks



19   Doc. 7465 at 9.
20   Id.
21   Id.
22   Id. at 10.

                                          5
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-348097
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        08/23/19    6 of67of 7
                                                                 Page



associated with a drug.” 23 She also conducted a “weight of the evidence”
assessment, in which she examined the Taxotere and Taxol product labeling
and other materials. 24
       Defendants further aver that Dr. Plunkett’s “greater risk” opinion would
be unhelpful to the jury, given that Dr. Plunkett does not quantify the “greater
risk” she discusses. This imprecision, however, does not render her opinion
inadmissible. The Supreme Court has explained that “it would be
unreasonable to conclude that the subject of scientific testimony must be
‘known’ to a certainty.” 25 As other courts have recognized, “[l]ack of certainty
is not, for a qualified expert, the same thing as guesswork.” 26
       The second opinion Defendants attack is that Taxotere is “more toxic”
than Taxol. Defendants argue that this opinion is irrelevant and would be
unhelpful to the jury. They aver that the opinion does not “fit” the facts of this
case, which is about permanent hair loss. The Court agrees. If the jury were to
hear this opinion, it may assume without a sufficient basis for doing so that if
Taxotere is more toxic than Taxol, Taxotere is more likely to cause permanent
hair loss. 27 The Court cautions, however, that if Defendants present evidence
about Taxotere’s level of toxicity, the Court will reassess whether Dr.
Plunkett’s “more toxic” opinion is appropriate for the jury to hear.

23 Doc. 6155-8 at 5.
24 Id. at 4–5.
25 Daubert, 509 U.S. at 590.
26 Milward v. Acuity Specialty Prods. Grp., Inc., 639 F.3d 11, 22 (1st Cir. 2011) (quoting
Primiano v. Cook, 598 F.3d 558, 565 (9th Cir.2010)). See Horan v. Dilbet, Inc., No. 12-2273,
2015 WL 5054856, at *16 (D.N.J. Aug. 26, 2015) (“[T]he experts’ opinions are drawn from
what little scientific data and research may be available . . . . That Plaintiffs’ experts remain
unable to quantify the amount of the increase does not render their opinions so speculative
as to be inadmissible.” (internal quotations omitted)).
27 See Trout v. Milton S. Hershey Med. Ctr., 576 F. Supp. 2d 673, 679 (M.D. Pa. 2008) (“If
introduced, Dr. Brumback’s cross-examination testimony would threaten to confuse and
mislead the jury by causing them to apply general information about amputation and limb
salvage to Trout’s case without a sufficient medical basis for doing so. The testimony could
lead jurors to draw medically unsound conclusions or to question unwarrantedly other expert
testimony tied more closely to the material facts of the case.”).
                                              6
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-JTM-MBN        6-348097
                               Document    FiledFiled
                                                 05/22/23    Page
                                                      08/23/19    7 of77of 7
                                                               Page



                               CONCLUSION
     For the foregoing reasons, IT IS ORDERED that the Motion to Exclude
Expert Testimony of Dr. Laura Plunkett (Doc. 6155) is DENIED IN PART
and DEFERRED IN PART.


     New Orleans, Louisiana this 23rd day of August, 2019.




                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




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